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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MYRON RAGSDALE,

              Plaintiff,                           Case No. 2:18-cv-

v.                                                 Hon.

CREDIT ACCEPTANCE CORPORATION,
a Michigan Corporation,

              Defendant.


 Charlotte Croson (P56589)
 NACHTLAW, P.C.
 Attorneys for Plaintiff
 101 North Main St., Suite 555
 Ann Arbor, MI 48104
 (734) 663-7550
 ccroson@nachtlaw.com
__________________________________________________________________

                COMPLAINT AND DEMAND FOR JURY TRIAL

        NOW COMES Plaintiff, MYRON RAGSDALE, by and through his

attorneys, NACHT LAW P.C., and states as follows:

                           JURISDICTION AND PARTIES

        1.    Plaintiff, MYRON RAGSDALE, is an individual residing in the City

of Southfield, County of Oakland, State of Michigan, within the Eastern District of

Michigan.



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      2.    Defendant, CREDIT ACCEPTANCE CORPORATION, is a Michigan

Corporation that does business in the Eastern District of Michigan.

      3.    This action arises under the Family Medical Leave Act of 1993

(“FMLA”), 29 U.S.C. § 2601 et seq.

      4.    This Court has jurisdiction pursuant to 28 U.S.C.A. § 1331 (federal

question jurisdiction) and 28 U.S.C.A. § 1343(a)(4) (jurisdiction over civil rights

claims).

      5.    The facts and unlawful employment practices within the meaning of the

FMLA giving rise to this Complaint occurred within the Eastern District of

Michigan.

      6.    Defendant is an employer and Plaintiff was its employee at all relevant

times within the meaning of the FMLA.

                            FACTUAL ALLEGATIONS

      7.    Plaintiff incorporates by reference herein the allegations contained in

the foregoing paragraphs.

      8.    Plaintiff was hired by Defendant on or about June 5, 2017 as a

Repossession Supervisor.

      9.    At all times relevant hereto, Plaintiff performed his job diligently and

with a high degree of competence.




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      10.      In December, 2017 and January, 2018 Plaintiff opposed Defendant’s

planned termination of an employee who had utilized FMLA leave.

      11.      The employee was a direct report of Plaintiff and had recently taken

FMLA leave.

      12.      Plaintiff’s direct supervisor was hostile toward the employee’s use of

FMLA leave.

      13.      In or about December, 2017, Plaintiff’s supervisor stated that if the

employee attempted to invoke her FMLA leave for a recent absence, Defendant

would terminate her.

      14.      The employee was slated for termination on or about January 15, 2018.

      15.      Plaintiff made a report to his Human Resources Coordinator stating that

he believed the employee’s pending termination was wrongful and that she was

entitled to FMLA leave.

      16.      After Plaintiff’s report, the employee was not terminated.

      17.      After Plaintiff’s report, he was subjected to hostile, discriminatory and

retaliatory acts by Defendant and/or its agents, servants, and/or employees including

but not limited to:

            a. Being moved to a new supervisor;
            b. Being subject to an investigation based on a false allegations of
               wrongdoing;



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      18.      Plaintiff made two subsequent reports to Defendant that he believed he

was being retaliated against because of his prior report to Human Resources

opposing the employee’s wrongful termination.

      19.      After Plaintiff’s reports, he was subjected to hostile, discriminatory and

retaliatory acts by Defendant and/or its agents, servants, and/or employees including

but not limited to:

            a. Attribution of false statements to him;
            b. Continuation of the retaliatory investigation;
            c. Failing to investigate Plaintiff’s complaints of retaliation;
            d. Placing negative information into Plaintiff’s Performance Discussion
               Log;

            e. Threatening to lower his performance rating making and him ineligible
               for bonuses.

      20.      Plaintiff made another report to Defendant that he was being retaliated

against.

      21.      After Plaintiff’s report, he was subjected to hostile, discriminatory and

retaliatory acts by Defendant and/or its agents, servants, and/or employees including

but not limited to:

            a. Lowered performance rating resulting in Plaintiff being ineligible for
               bonuses;
            b. Being put on a final discipline thus removing him from bonus
               eligibility.




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      22.      Plaintiff made additional complaints of retaliation to Defendant

including to the Director of Human Resources, counsel for Defendant, a “red tape”

report, and a complaint to Lighthouse Ethics.

      23.      After Plaintiff’s reports, he was subjected to hostile, discriminatory and

retaliatory acts by Defendant and/or its agents, servants, and/or employees including

but not limited to termination on February 21, 2018.

      24.      Defendant’s proffered reason for Plaintiff’s termination was pretextual.

                                        COUNT I

DISCRIMINATION AND RETALIATION IN VIOLATION OF THE FMLA

      25.      Plaintiff incorporates by reference herein the foregoing paragraphs and

allegations.

      26.      Defendant terminated Plaintiff’s employment due to his protected

activity under the FMLA, to-wit: opposing conduct which was, or which he

reasonably believed to be, unlawful conduct under the FMLA including, but not

limited to, the planned termination of an employee who had utilized FMLA leave

and his own complaints and reports of retaliation for engaging in protected activity.

      27.      In terminating Plaintiff for his protected activity, Defendant violated

Plaintiff’s rights under the FMLA by discriminating and/or retaliating against him

in violation of 29 U.S.C. § 2615.




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      28.     But for Plaintiff’s engagement in protected activity, Defendant would

not have terminated him.

      29.     As a direct and proximate result of Defendant’s violation of the FMLA,

Plaintiff has suffered bodily injury, feelings of depression, emotional and physical

distress, mental and physical anguish, loss of reputation, humiliation and

embarrassment, and the physical effects associated therewith, and will so suffer in

the future.

      30.     As a further direct and proximate result of Defendant’s violation of the

FMLA, Plaintiff has been placed in financial distress and has suffered a loss of

earnings and benefits, and a loss of and impairment of her earning capacity and

ability to work and will so suffer in the future; she has been required to employ the

services of an attorney to bring this lawsuit and will suffer additional damages in the

future.

      WHEREFORE, Plaintiff requests that this Court enter Judgment in favor of

Plaintiff and against Defendant in whatever amount this Court deems reasonable,

together with costs, interest and attorneys’ fees.

                              RELIEF REQUESTED

      WHEREFORE, Plaintiff prays that this Honorable Court grant the following

remedies:

      a.      Declare that the aforementioned practices and actions of Defendant
              constitute unlawful employment practices in violation of the FMLA;

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   b.    Award Plaintiff all lost wages and benefits, past and future, to which he
         is entitled;

   c.    Award Plaintiff appropriate equitable relief;

   d.    Award Plaintiff compensatory damages;

   e.    Award Plaintiff exemplary damages;

   f.    Award Plaintiff punitive damages;

   g.    Award Plaintiff reasonable attorney fees, costs and interest; and
   h.    Award such other relief as this Court deems just and proper.

                                   Respectfully submitted

                                   NACHTLAW, P.C.


                                      /s/ Charlotte Croson
                                   Charlotte Croson (P56589)
                                   Attorney for Plaintiff
   Dated: August 17, 2018




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                      UNITED STATES DISTRICT COURT
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Charlotte Croson (P56589)
NACHTLAW, P.C.
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101 North Main St., Suite 555
Ann Arbor, MI 48104
ccroson@nachtlaw.com


                                JURY DEMAND
        NOW COMES Plaintiff, MYRON RAGSDALE, by and through his
attorneys, NACHT LAW P.C., and hereby demands a trial by jury of the issues in
the above-captioned cause of action.
                                       Respectfully submitted

                                       NACHTLAW, P.C.

                                          /s/ Charlotte Croson
                                       Charlotte Croson (P56589)
Dated: August 17, 2018                 Attorney for Plaintiff




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